       Case 5:16-cv-03222-JAR-TJJ Document 55 Filed 09/14/20 Page 1 of 6




                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS


JEFFREY J. SPERRY,                                    )
                                                      )
               Plaintiff,                             )
                                                      )
v.                                                    )       Case. No. 16-CV-3222-SAC
                                                      )
LINDSEY WILDERMUTH, et al.                            )
                                                      )
               Defendants.                            )
                                                      )

       MOTION TO STAY DISCOVERY AND RELATED RULE 26 ACTIVITIES
            WITH MEMORANDUM IN SUPPORT INCORPORATED

       Defendants request an order staying all discovery and other related Rule 26 proceedings in

this case until the Court completes its screening of the case and rules on defendants’ pending

Motion to Dismiss, or in the Alternative, for Summary Judgment.

             Nature of the Matter Before the Court and Brief Statement of Facts

       In this case, Kansas Department of Corrections (KDOC) inmate Jeffrey Sperry attempts to

bring dozens of claims against various combinations of 18 defendants, all current or former

employees and officials of the KDOC. Doc. 24. The Court has previously found that at least half

of the counts failed to state a claim and ordered Sperry to show cause why they should not be

dismissed. Doc. 31. After Sperry responded, the Court ordered the KDOC to prepare a Martinez

report to assist it in screening the claims. Doc. 35. The Martinez report was filed on June 19, 2020.

Doc. 48. The Court has yet to screen the case based on the Martinez report.

       On September 1, 2020, defendants moved for dismissal, or alternatively summary

judgment, arguing that the complaint violates the pleading requirements of Rule 8 and fails to state

plausible claims for relief against defendants, who are entitled to qualified immunity. Doc. 52, 53.

                                                 1
        Case 5:16-cv-03222-JAR-TJJ Document 55 Filed 09/14/20 Page 2 of 6




Some of the deficiencies in Sperry’s complaint include his attempt to bring general grievances on

behalf of the prison population as whole, which he lacks standing to do, and claims barred by the

statute of limitations. Doc. 53 at 13-14. Some of the purported claims are not just deficient but

frivolous. See, e.g., Doc. 53 at 10. Additionally, the motion argues that Sperry failed to exhaust his

administrative remedies for some claims and the claims against defendants in their official

capacities are largely barred by the Eleventh Amendment. Doc. 53 at 27-33. This motion is

pending.

                                         Question Presented

        Should the Court stay discovery and other related Rule 26 proceedings until it screens the

case and decides defendants’ pending Motion to Dismiss, or in the Alternative, for Summary

Judgment?

                                     Argument and Authorities

        The Court has great flexibility in determining the time, manner, and scope of discovery.

See Abdulhaseeb v. Calbone, 600 F.3d 1301, 1310 (10th Cir. 2010) (“Discovery and scheduling

are matters within the district court's broad discretion.”). “And ‘[i]t is well settled that the district

court has the power to stay proceedings pending before it and to control its docket for the purpose

of economy of time and effort for itself, for counsel, and for litigants.’” Baca v. Berry, 806 F.3d

1262, 1269-70 (10th Cir. 2015) (quoting Pet Milk Co. v. Ritter, 323 F.2d 586, 588 (10th Cir.

1963)). While “[t]he general policy in this district is not to stay discovery even though dispositive

motions are pending,” there are several circumstances where it is appropriate, such as:

               when a decision on the pending motion is likely to end the case,

               “where the facts sought through uncompleted discovery would not affect the
                resolution of the motion,” and


                                                   2
       Case 5:16-cv-03222-JAR-TJJ Document 55 Filed 09/14/20 Page 3 of 6




              “where discovery on all issues of the broad complaint would be wasteful and
               burdensome.”

Wolf v. United States, 157 F.R.D. 494, 495 (D. Kan. 1994) (citing Kutilek v. Gannon, 132 F.R.D.

296, 297-98 (D. Kan. 1990)).

       Another such circumstance is when the defendant’s motion raises issues of immunity. See

Citizens for Objective Pub. Educ., Inc. v. Kansas State Bd. of Educ., No. 13-4119-KHV, 2013 WL

6728323, at *1 (D. Kan. Dec. 19, 2013) (stay of discovery was warranted because defendants’

motion to dismiss raised sovereign immunity); Tennant v. Miller, No. 13-2143-EFM, 2013 WL

4848836, at *1 (D. Kan. Sept. 11, 2013) (noting “the well-established exception” to the district’s

general policy when defendants raise qualified immunity in their dispositive motion). Staying

discovery in such cases allows the Court to resolve the threshold question of whether a defendant

is entitled to immunity before subjecting him to avoidable and unnecessary discovery, which

immunity protects him from. See Stonecipher v. Valles, 759 F.3d 1134, 1148 (10th Cir. 2014).

       Here, any discovery would be premature and wasteful until the Court conducts the

screening mandated by 28 U.S.C. § 1915A:

       (a) Screening. The court shall review, before docketing, if feasible or, in any event, as
           soon as practicable after docketing, a complaint in a civil action in which a prisoner
           seeks redress from a governmental entity or officer or employee of a governmental
           entity.

       (b) Grounds for dismissal. On review, the court shall identify cognizable claims or
           dismiss the complaint, or any portion of the complaint, if the complaint

               (1) is frivolous, malicious, or fails to state a claim upon which relief may be
                   granted; or

               (2) seeks monetary relief from a defendant who is immune from such relief.

While the Court has acknowledged the need to screen this case and ordered a Martinez report to

assist it in doing so, Doc. 35 at 2, the screening has not yet occurred. Sperry’s amended complaint

                                                3
       Case 5:16-cv-03222-JAR-TJJ Document 55 Filed 09/14/20 Page 4 of 6




attempts to bring dozens of diverse claims against numerous defendants, and the Court’s initial

review of it found that more than half of the counts failed to state a claim. Doc. 31. The KDOC

submitted an extensive report to aid the Court in screening the case. Doc. 48. Until the Court

screens the case based on the Martinez report and dismisses the portions of the complaint that are

frivolous, malicious, or fail to state a claim, as well as those that seek monetary relief from

defendants immune from such relief, “discovery on all issues of sthe broad complaint would be

wasteful and burdensome.” Wolf, 157 F.R.D. at 495. All discovery in this case should be stayed

until this mandatory screening by the Court occurs.

       Additionally, the Court should stay discovery until it rules on defendants’ pending motion

because it raises threshold issues likely to dispose of the case. Defendants argue that the complaint

violates the pleading requirements and is subject to dismissal, which would dispose of the case.

The motion also argues extensively that Sperry fails to state plausible claims. Discovery will not

aid the Court in deciding whether Sperry fails to state plausible claims in his complaint, as that is

a question of law, not fact. Finally, defendants raise the issues of qualified immunity and Eleventh

Amendment immunity.

       Qualified immunity is meant “to free officials from the concerns of litigation, including

‘avoidance of disruptive discovery,’” Ashcroft v. Iqbal, 556 U.S. 662, 685 (2009) (quoting Siegert

v. Gilley, 500 U.S. 226, 236 (1991) (Kennedy, J., concurring in judgment)), and Eleventh

Amendment immunity is a jurisdictional bar. Edelman v. Jordan, 415 U.S. 651, 678 (1974). Orders

denying an official’s claims of immunity are immediately appealable under the collateral order

doctrine insofar as they turn on questions of law because “the value . . . is for the most part lost as

litigation proceeds past motion practice.” See P.R. Aqueduct and Sewer Auth. v. Metcalf & Eddy,

Inc., 506 U.S. 139, 145-47 (1993). Defendants are entitled to resolution of the immunity issues as

                                                  4
       Case 5:16-cv-03222-JAR-TJJ Document 55 Filed 09/14/20 Page 5 of 6




a threshold matter because immunity from suit includes protection from avoidable and unnecessary

discovery. See Siegert, 500 U.S. at 232 (citations omitted); Workman v. Jordan, 958 F.2d 332, 336

(10th Cir. 1992) (“Discovery should not be allowed until the court resolves the threshold question

whether the law was clearly established at the time the allegedly unlawful action occurred.”);

Liverman v. Comm. on the Judiciary, 51 F. App’x 825, 827-28 (10th Cir. 2002) (affirming stay of

discovery where defendant raised sovereign immunity as a defense).

                                           Conclusion

       Until the Court screens Sperry’s complaint under 28 U.S.C. § 1915A and decides the

dispositive legal and jurisdictional issues raised in defendants’ motion, discovery would be

wasteful, burdensome, and non-productive, for both the Court and the parties. Thus, the Court

should grant this motion and enter an order staying discovery and other Rule 26 activities in this

case, including service of discovery requests and responses, until it screens the case and rules on

defendants’ pending Motion to Dismiss, or in the Alternative, for Summary Judgment.



                                             Respectfully submitted,

                                             OFFICE OF THE ATTORNEY GENERAL
                                             DEREK SCHMIDT

                                             s/ Kathleen M. Barceleau
                                             Kathleen M. Barceleau, KS No. 28401
                                             Natasha M. Carter, KS No. 26074
                                             Assistant Attorneys General
                                             120 SW 10th Avenue, 2nd Floor
                                             Topeka, Kansas, 66612-1597
                                             Phone: (785) 296-2215
                                             Fax: (785) 291-3767
                                             Email: kathleen.barceleau@ag.ks.gov
                                             Email: natasha.carter@ag.ks.gov
                                             Attorneys for Defendants



                                                5
       Case 5:16-cv-03222-JAR-TJJ Document 55 Filed 09/14/20 Page 6 of 6




                                CERTIFICATE OF SERVICE

        I certify that on September 14, 2020, the foregoing was electronically filed with the clerk
of the court using the CM/ECF system and a copy was mailed first-class mail, postage prepaid to:

       Jeffrey J. Sperry, #47031
       El Dorado Correctional Facility
       P.O. Box 311
       El Dorado, Kansas 67042
       Plaintiff pro se


                                             s/ Kathleen M. Barceleau
                                             Kathleen M. Barceleau
                                             Assistant Attorney General




                                                6
